                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                    IN THE UNITED STATES DISTRICT COURT               April 26, 2017
                     FOR THE SOUTHERN DISTRICT OF TEXAS            David J. Bradley, Clerk
                              HOUSTON DIVISION


UNITED STATES OF AMERICA              §
                                      §
V.                                    §   CRIMINAL NO. H-17-76
                                      §
DANIEL BART THEDINGER                 §

                         REPORT AND RECOMMENDATION

     Before the court, by referral pursuant to 28 U.S.C. §636(b),

is the matter of the re-arraignment of Daniel Bart Thedinger,

defendant in this action.       The court, having addressed Defendant

personally     in     open   court,   now    submits   its   Report         and

Recommendation.

     On April 26, 2017, Defendant, Daniel Bart Thedinger, appeared

with counsel before the undersigned magistrate judge for the

purpose of entering a guilty plea to Count 1 of the Information

charging him with tax evasion, in violation of 26 U.S.C. § 7201.

     Defendant, Daniel Bart Thedinger, consented in writing to

plead guilty before a United States Magistrate Judge.                   After

conducting said proceeding in the form and manner prescribed by

Rule 11 of the Federal Rules of Criminal Procedure, this court

makes the following findings of fact:

     1.      Defendant,    Daniel   Bart    Thedinger,   after
             consultation with counsel of record and with the
             approval of the government, has knowingly and
             voluntarily consented to be advised of his rights
             and to enter a plea of guilty before a U.S.
             Magistrate Judge subject to final approval and
             imposition of sentence by Chief United States

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          District Judge Lee Rosenthal.

     2.   Defendant Daniel Bart Thedinger is fully competent and
          capable of entering an informed plea.

     3.   Defendant Daniel Bart Thedinger is aware of the nature of
          the charges, the maximum punishment range and other
          penalties that may be imposed at sentencing.

     4.   Defendant   Daniel  Bart   Thedinger  understands   his
          constitutional and statutory rights and wishes to waive
          those rights.

     5.   Defendant Daniel Bart Thedinger is aware that pursuant to
          the Plea Agreement, he is waiving his right to appeal his
          conviction and sentence, both directly and collaterally.

     6.   Defendant Daniel Bart Thedinger understands that the
          sentencing judge is not bound by any recommendation on
          sentencing made by either counsel for the government or
          counsel for the defendant, and that if a recommendation
          on sentencing is not followed by the sentencing judge, he
          may not withdraw his plea of guilty.

     7.   Defendant Daniel Bart Thedinger’s plea of guilty is a
          knowing and voluntary plea supported by an independent
          basis in fact containing each of the essential elements
          of the offense charged in Count 1 of the Information.

     Based upon the foregoing findings, it is the RECOMMENDATION of

the undersigned that the guilty plea of Defendant Daniel Bart

Thedinger to Count 1 of the Information be ACCEPTED by the court

and that Daniel Bart Thedinger be adjudged guilty of the offense

alleged in Count 1 of the Information, to wit: tax evasion, in

violation of 26 U.S.C. § 7201.

     The Clerk shall send copies of this Report and Recommendation

to the respective parties who have fourteen (14) days from the

receipt thereof to file written objections thereto pursuant to

Federal Rule of Civil Procedure 72(b) and General Order 2002-13.

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Failure to file written objections within the time period mentioned

shall bar an aggrieved party from attacking the factual findings

and legal conclusions on appeal.

     The original of any written objections shall be filed with the

United States District Clerk electronically.             Copies of such

objections shall be mailed to opposing parties and to the chambers

of the undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.

     SIGNED at Houston, Texas, this 26th day of April, 2017.




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                                          U.S. MAGISTRATE JUDGE




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